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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                            DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       )
v.                                             )      Criminal No. 21-mj-14
ANTHIME GIONET ,                               )
                                               )      FILED UNDER SEAL
                                               )
                                               )
                 Defendant.                    )

                                               ORDER

        This matter having come before the Court pursuant to the motion of the United States to

unseal the above-captioned matter, including the above-captioned warrant and related documents,

such as the complaint, the affidavit in support thereof, and all attachments thereto and other related

materials (collectively the “Warrant”), the Court finds that, as the Defendant Anthime Gionet has

been arrested and the Warrant executed, there is no longer a compelling governmental interest to

justify the sealing.

        1.      IT IS THEREFORE ORDERED that the government’s motion to unseal is hereby

GRANTED, and the above-captioned matter and all documents filed in this matter to date,

including but not limited to the Warrant, the prior application to seal and sealing Order, and the

instant motion to unseal, shall be unsealed.


        2.      IT IS FURTHER ORDERED that the Clerk’s office may now make entry on the

public docket of the Warrant and of this matter.
                                                                            Digitally signed by G.
                                                                            Michael Harvey
                                                                            Date: 2021.01.16 10:48:55
                                                                            -05'00'
Date: January 16, 2021                                ___________________________________
                                                      G. MICHAEL HARVEY
                                                      UNITED STATES MAGISTRATE JUDGE
